      Case 4:19-cv-02033-YGR Document 208 Filed 11/01/21 Page 1 of 6




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15
                               UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
                                       OAKLAND DIVISION
18
   In re APPLE INC. SECURITIES                    ) Case No. 4:19-cv-02033-YGR
19 LITIGATION                                     )
                                                  ) CLASS ACTION
20                                                )
   This Document Relates To:                      ) NOTICE OF CHANGE IN COUNSEL
21                                                ) PURSUANT TO L.R. 5-1(c)(2)(C)
          ALL ACTIONS.                            )
22                                                )

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 1            PLEASE TAKE NOTICE that John H. George is hereby withdrawn as counsel for Lead

 2 Plaintiff Norfolk County Council as Administrating Authority of the Norfolk Pension Fund

 3 (“Plaintiff”). Pursuant to Local Rule 5-1(c)(2)(C), Mr. George’s withdrawal is necessary because he

 4 is no longer associated with the firm Robbins Geller Rudman & Dowd LLP (“Robbins Geller”).

 5 Therefore, he should be removed as attorney of record. Plaintiff will continue to be represented by

 6 Robbins Geller.

 7 DATED: November 1, 2021                         ROBBINS GELLER RUDMAN
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     02033-YGR                                                                                     -1-
     4865-1032-9601.v1
      Case 4:19-cv-02033-YGR Document 208 Filed 11/01/21 Page 3 of 6




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                                          Counsel for Employees’ Retirement System of the
 2                                        State of Rhode Island

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     NOTICE OF CHANGE IN COUNSEL PURSUANT TO L.R. 5-1(c)(2)(C) - 4:19-cv-
     02033-YGR                                                                        -2-
     4865-1032-9601.v1
      Case 4:19-cv-02033-YGR Document 208 Filed 11/01/21 Page 4 of 6




 1                                     CERTIFICATE OF SERVICE

 2            I hereby certify under penalty of perjury that on November 1, 2021, I authorized the

 3 electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

 4 send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

 5 and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

 6 the non-CM/ECF participants indicated on the attached Manual Notice List.

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Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use your mouse
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